 Case 4:18-cv-00167-O Document 207 Filed 11/05/18      Page 1 of 5 PageID 2544



            IN THE UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF TEXAS
                    FORT WORTH DIVISION

TEXAS, et al.,                                PLAINTIFFS
v.                  Case No. 4:18-cv-00167-O
UNITED STATES
OF AMERICA, et al.,                          DEFENDANTS
and
CALIFORNIA, et al.,               INTERVENOR-DEFENDANTS


           AMICUS BRIEF OF CAREY BRIAN MEADORS

   COMES NOW, Carey Brian Meadors, an individual, who respectfully

submits this short amicus brief.

   1. Carey Brian Meadors (the “Amicus”) is an individual citizen residing in

North Carolina. He is a former naval nuclear submarine oﬃcer and married

father of three.

   2. Amicus is unaﬃliated with the advocacy groups that are most associated

with the ongoing debate concerning the Aﬀordable Care Act. He files this on

his own behalf, on his own initiative, and without suggestion from or the

behest of anyone or any organization.

A. Interest of the Amicus

   3. This case aﬀects the Amicus because, should Plaintiﬀs be successful in

their suit, the protections of the Aﬀordable Care Act would be voided. Losing


         AMICUS BRIEF of CAREY BRIAN MEADORS, an individual, page 1 of 5
    Case 4:18-cv-00167-O Document 207 Filed 11/05/18                Page 2 of 5 PageID 2545



those protections will lead to Amicus’s early death preceded by a painful and

humiliating sickness.1

     4. Two protections given by the Aﬀordable Care Act have saved Amicus

and are necessary to protect his life going forward.

        4.1. Protection One: Health plans may no longer stop paying when an

     insured becomes too expensive. In Amicus’s case, if Plaintiﬀs are successful,

     the “too expensive” mark would be met quickly.

        4.2. Protection Two: If Plaintiﬀs are successful, the pre-existing

     condition protections would evaporate.2 That loss would not only harm

     people, but also the free market—if the labor force is not able to freely



1   Amicus suﬀers from an incurable form of Cushing’s Disease, a rare endocrine disorder
requiring expensive and life-long medical care. Without treatment, the disease causes
weight gain, irritability, short-term memory loss, decreased libido, severe fatigue, muscle
weakness, depression, and anxiety. Untreated people with Cushing’s Disease have a
significantly lower quality of life and die earlier than those without. See, e.g., Feelders, Pulgar,
Kempel, and Pereira, “The burden of Cushing’s disease: clinical and health-related quality of
life aspects,” EUR J ENDOCRINOL. 2012 Sep;167(3):311-26 (located at https://
www.ncbi.nlm.nih.gov/pubmed/22728347/ (visited June 9, 2018)); Huguet, Ntali, Grossman,
and Karavitaki, “Cushing's Disease - Quality of Life, Recurrence and Long-term Morbidity,”
EUR ENDOCRINOL. 2015 Apr;11(1):34-38 (located at https://www.ncbi.nlm.nih.gov/pubmed/
29632565 (visited June 9, 2018)).
2  Some oﬃcials have given vague promises that legislation preserving pre-existing condition
protections would be passed if Plaintiﬀs are successful. That is unlikely; such protections
are only aﬀordable if everyone, not just sick people, have insurance, and it’s the everyone
part that Plaintiﬀs are against. Thus, oﬃcials’ promises about preserving pre-existing
condition protections are empty because without the mandate, nobody with pre-existing
conditions would be able to aﬀord health insurance. Cf. Congressional Budget Oﬃce, How
Repealing Portions of the Aﬀordable Care Act Would Aﬀect Health Insurance Coverage and Premiums
(Jan. 2017) (located at https://www.cbo.gov/publication/52371 (visited July 22, 2018)).

           AMICUS BRIEF of CAREY BRIAN MEADORS, an individual, page 2 of 5
 Case 4:18-cv-00167-O Document 207 Filed 11/05/18        Page 3 of 5 PageID 2546



   move from one employer to another or be self-employed, the market

   suﬀers. Given that health insurance in the U.S. is largely employer-

   sponsored, losing ACA protections means folks with pre-existing medical

   conditions cannot, as a practical matter, start their own companies—they

   wouldn’t be able to buy insurance covering their conditions.

   5. The ACA allows Amicus to lead a symptom-free and longer life. He can

watch his children grow; he can support his family. The ACA gives Amicus the

option to change employers or strike out on his own. In short, the ACA allows

Amicus to be an engaged, productive member of society.

B. There is a difference between lowering a tax rate and eliminating a
tax.

   6. Plaintiﬀs are relying on the “zero tax” as their way to kill the ACA. They

argue that because Congress lowered the amount of the ACA mandate/tax, the

mandate is no longer a tax.

   7. Plaintiﬀs are conflating the existence of a tax with the amount of the

tax. Congress did not eliminate the tax. It still exists. Congress merely

reduced the rate. See P.L. 115-97, 131 Stat. 2092, § 11081 (Dec. 2017).

C. Plaintiffs’ arguments ignore tenets of statutory construction.

   8. Plaintiﬀs’ argument—that Congress lowering a tax rate results in the

collapse of the primary legislation governing the health care industry—ignores

         AMICUS BRIEF of CAREY BRIAN MEADORS, an individual, page 3 of 5
 Case 4:18-cv-00167-O Document 207 Filed 11/05/18        Page 4 of 5 PageID 2547



tenets of statutory construction.

      8.1. It is black letter law that statutes should be construed to eﬀect the

   intent of Congress.

         8.1.1. Here, it’s clear Congress intended to preserve the ACA because

      eﬀorts to repeal it failed. See, e.g., https://www.washingtonpost.com/news/

      the-fix/wp/2017/07/28/how-john-mccains-no-vote-on-health-care-played-

      out-on-the-senate-floor/?utm_term=.ac410e399b2f (visited July 21, 2018).

         8.1.2. Thus, this same Congress’s lowering of the mandate’s tax rate

      was just that—a lowering of the rate, not an elimination of the ACA.

      8.2. Further, Plaintiﬀs’ argument would require the Court to find that

   Congress repealed the ACA by implication. That construction is strongly

   disfavored. “It is a cardinal principle of construction that repeals by

   implication are not favored. When there are two acts upon the same

   subject, the rule is to give eﬀect to both if possible.” U.S. v. Borden Co., 308

   U.S. 188, 198 (1939). Statutory construction rules require the Court to, if

   possible, interpret the new tax law in a way that also preserves the ACA.

Conclusion

   9. Plaintiﬀs’ attorneys general are attempting to do judicially what their

party failed to do legislatively. This Court should reject their invitation.


         AMICUS BRIEF of CAREY BRIAN MEADORS, an individual, page 4 of 5
 Case 4:18-cv-00167-O Document 207 Filed 11/05/18       Page 5 of 5 PageID 2548



Determining health care policy is Congress’s job.

   CERTIFICATE OF SERVICE: I electronically submitted this document

with the clerk of court for the U.S. District Court, Northern District of Texas,

using the electronic case filing system of the court. I hereby certify that I have

served all counsel and/or pro se parties of record electronically or by another

manner authorized by Federal Rule of Civil Procedure 5 (b)(2)

   Thursday, July 26, 2018


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                         /s
                         Carey Brian Meadors




         AMICUS BRIEF of CAREY BRIAN MEADORS, an individual, page 5 of 5
